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EXHIBIT B

 
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YORK DISPATCH NEWS ARTICLES - CURRICULUM CONTROVERSY
DATE ARTICLE AUTHOR
Undated | “Ruling lauded in Dover” Heidi Berhnard-Bubb
Undated | “A year like no other” staff
6/8/04 “Dover debates evolution in biology text” Heidi Berhnard-Bubb
6/9/04 “Group: Dover schools could face lawsuit” Heidi Berhnard-Bubb
6/15/04 | “Church, state issue divides; Creationism draws 100 to Heidi Berhnard-Bubb
Dover meeting”
7/13/04 | “Dover schools delays text vote: New version of book Heidi Berhnard-Bubb
available”
8/3/04 “Divided Dover board Oks biology text” Heidi Berhnard-Bubb
8/3/04 “Michigan law center offers a defense of creationism” Heidi Berhnard-Bubb
9/8/04 “Biology issue lingers” Heidi Berhnard-Bubb
10/2/04 | “Dover says meeting tapes not public” Heidi Berhnard-Bubb
10/2/04 | “’Design’ bedevils school board” Heidi Berhnard-Bubb
10/3/04 | “Dover allowed to keep tapes from the public” Heidi Berhnard-Bubb
10/8/04 | “Creationism disclaimer trial opens in Ga.” The Associated Press
10/17/04 | “13 apply for 4 Dover board seats” Heidi Berhnard-Bubb
10/19/04 | “’Nightline’ produces show” Heidi Berhnard-Bubb
10/19/04 | “Four get seats in Dover” Heidi Berhnard-Bubb
10/22/04 | “Dover opts for referral” Heidi Berhnard-Bubb
12/2/04 | “Dover lawsuit looms” Heidi Berhnard-Bubb
12/7/04 | “Another Dover school board member quits” Heidi Berhnard-Bubb
12/10/04 | “Losing a lawsuit could cost Dover” Heidi Berhnard-Bubb
12/10/04 | “Dover board limits public comment” Heidi Berhnard-Bubb
12/14/04 | “Dover school suit due” Heidi Berhnard-Bubb
12/15/04 | “Darwin v. ‘Design’ in Dover Christina Kauffman
and Heidi Berhnard-
Bubb
12/15/04 | “Creationism, evolution and the courts” Heidi Berhnard-Bubb
12/15/04 | “Claims made in the federal lawsuit” staff
2/15/04 | “’Design’ vs. Darwin hits home” Christina Kquffman
and Heidi Berhnard-
Bubb
12/16/04 | “Dover mum on lawsuit” Heidi Berhnard-Bubb
12/16/04 | “Carolers prepare for 157" night of song” Hank Merg¢s
12/21/04 | “Protests don’t halt Dover’s defense” Heidi Berhnard-Bubb
12/22/04 | “Deadline for Dover lawsuit” Christina Kauffman
12/24/04 | “Take a moment to reflect on Christmas” Hank Merg¢s
12/31/04 | “For York, a year like no other” staff
1/4/05 “Dover board mum on intelligent design” Heidi Berhrjard-Bubb
1/6/05 “Memory woes halt ‘design’ lesson curb” Heidi Berhnard-Bubb
“Dover board challenges bio lawsuit” Heidi Berhnard-Bubb

 

 

 

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1/7/04 “Dover profs want to opt out” Heidi Berhngrd-Bubb
1/10/05 | “Dover parents form PTO” Heidi Berhnard-Bubb
1/10/05 | “Science teachers won’t have to read statement” Heidi Berhnard-Bubb
1/11/05 | “Anti-board ticket eyed in Dover” Heidi Berhnard-Bubb
1/11/05 | “District’s lawyers tackle critics, local and national” Heidi Berhnard-Bubb
1/12/05 | “Dover delays biology class statement” Heidi Berhnard-Bubb
1/12/05} “Curriculum wording” staff
1/14/05 | “Ruling lauded in Dover” Heidi Berhnard-Bubb
1/14/05 | “Residents: Dover policy breaks the law” Heidi Berhnard-Bubb
1/19/05 | “Parents sue to expand teachings” Christina Kauffman
1/20/05 Hank Merges
1/20/05 | “Dover debate expands to other faiths” Caryn Tamber
1/26/05 | “Science and religion: Time for a bridge?” Christina Kauffman
1/26/05 | “Firm polls Dover residents about ‘design’”” Christina Kauffman
1/28/05 | “Tax reform takes priority” staff
1/28/05 | “Majority supports decision” Christina Kauffman
1/28/05 | “Ga. bill targets evolution teaching” Doug Gross
2/1/05 “Dover board tapes at issue” Heidi Berhnard-Bubb
2/1/05 “Dover board challenges bio lawsuit” Heidi Berhnard-Bubb
2/1/05 “Comment policy questioned” Heidi Berhnard-Bubb
2/1/05 “Yingling blasts Dover school board” Christina Kquffman
2/8/05 “Dover dispute energizes academe” Christina Kquffman
2/8/05 “Yingling blasts Dover School Board” Christina Kguffman
2/15/05 | “Dover board offers district letter on ID” Christina Kguffman
2/17/05 | “Slate set for Dover ed board” Christina Kguffman
2/24/05 | “Five vie for seat in Dover” Christina Kguffman
3/1/05 “Grandpa’s drug problem makes all the difference” Hank Merges
3/8/05 “Dover Area School Board selects new member” Christina Kquffman
3/8/05 “Group plans science-book donation” Christina Kquffman
3/14/05_| “In brief” staff
3/14/05 _| “18 seek seven school board seats in Dover” Christina Kauffman
3/15/05 | “Teachers wait to start negotiations” Christina Kauffman
3/15/05 | “Cyber group awaits Dover book decision” Christina Kauffman
4/20/05 | “Dover: Prudent and proud” Christina Kauffman
4/21/05 | “Dover signs blasted” Christina Kauffman
4/22/05 | “Callers threaten boycotts in Dover” Christina Kauffman
4/22/05 | “About the school board race” staff
4/26/05 | “Domestic violence a hidden scourge here” Hank Merg¢s
4/26/05 | “Discourse in Dover” Christina Kauffman
4/28/05_| “No end to Dover impasse” Christina Kauffman
5/3/05 “Students essays tackle today’s issues” Jack Sholl
5/3/05 “Budget issues in Dallastown” Jana Benscater
5/6/05 “18 battle for seats in Dover” Christina Kauffman
5/18/05 | “Intelligent design issue draws large number of voters” Christina Kauffman
5/18/05 | “Four down, 14 left in Dover” Christina Kauffman

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5/18/05 | “Two continue unopposed” Wendi Himmelright
5/18/05 | “Voters split on candidates for school board” Christina Kapffman
5/24/05 | “Dover asked to end conflict” Heidi Berhngrd-Bubb
6/7/05 “District honors former board members’ work” Heidi Berhnard-Bubb
7/12/05 | “Dover board in more flux” Heidi Berhnard-Bubb
7/13/05 | “Suit now centers on reporters” Christina Kayffman
7/15/05 | “Notes’ value studied” Christina Kauffman
7/15/05 | “Textbook publisher wants to join lawsuit” Christina Kauffman
7/29/05 | “Voters likely to get choice” Christina Kauffman
8/11/05 | “Dover teachers, school district finally begin contract talk” | Christina Kauffman
8/12/05 | “Judge asked to reconsider ruling that reporters testify” Christina Kauffman

 

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YORK DISPATCH LETTERS TO THE EDITOR

CURRICULUM CONTROVERSY

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DATE ARTICLE AUHOR
6/24/04 “Wilson would not approve” Edward T. Yeatts IIT
6/28/04 “Honesty in evolution teaching seen as vital” Thomas Salerno
7/21/04 “The evidence fits creation science”

9/7/04 “Creationism not science” Charles E. $trehl
9/16/04 “Creationism belief absurd”
9/29/04 “Keep religion out of school” Andrea Heilman
10/5/04 “Dover school board gambling with students’ future” Aaron Gentzler
10/16/04 “°Will battle for Dover schools” Jeffrey A. Brown
12/7/05 “Facts in creationism dispute need clarifying” Brenda J. Bonsell
12/10/04 “Random chance unproved” Eric Culbertson
12/16/04 “Intelligent design dispute in Dover reflects ignorance | Biology department of
of scientific data” York College
12/16/04 “Professors too defiant” Bruce Hake
12/16/04 “ACLU too tyrannical” William F. Folger
12/16/04 “Dover school board’s imperial pretensions” Noel Wenrich
12/16/04 “A view of proportions” Steven A. Hite
12/21/04 “Intelligent design issue raises profound questions for
society”
12/22/04 “Creationism should be promoted” David Peck
12/22/04 “College faculty attack on intelligent design skews Zach Manifold
data”
12/22/04 ‘Evidence’ for intelligent design” Chris Althouse
12/23/04 “Creationism should be promoted” David Peck
12/24/04 “More church, state dispute” Turk Pierce
12/24/04 ‘°Design’ theory is mythology” Carl Huber Jr.
12/27/04 “Dover debate a smoke puff” Randy Blymire
12/28/04 “Vote school board out” Joy K. Lederman
12/29/04 ‘“Dover’s ‘Taliban’ too smug” Kenneth S, Hill
12/29/04 “Theory of evolution far from pure science” James Bogart
12/30/04 “Dover heads for trouble” William J. Trimmer
1/5/05 “Fossils and creationism” D.M. Berry
1/5/05 “That problem with mutation” D.B. Blair
1/7/05 “Dover board ignores the evidence” Charles L. Davis
1/7/05 “Simplistic answers to creation” Douglas Diggens
1/7/05 “New paradigm needed: More intelligent ‘intelligent Richard Dj Colling
design’”
1/12/05 “’Pseudoscientific balderdash’” Liam Feldman
1/17/05 ‘“? Orthodoxy’ challenged” Cindy Mummert
1/20/05 “Tolerance is what’s needed” Stephen Hj] Frey
1/21/05 “Wrong start for debate” Cindy L. C. Mueller

 

 

 

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1/21/05 ‘°Design’ goal anti-science” Ben Burrows
1/25/05 “Random chance is not a theory” Jeffrey A. Brown
1/26/05 “Teach all the history” Jim Ditsworth
1/26/05 “Curious board denials” Daniel M. Fennick
1/26/05 “End the ‘bumpkinism’” R. Allen Frey, Jr.
“ACLU is anti-God” Geraldine M. Trust
“Appalled by Hicks column” Ross Stanard
1/27/05 “Confused by Dover suit” Randy Bennett
2/2/05 “TP” belongs in classrooms” John Rhine
2/2/05 “Recognizing God’s power” Charles E. Leiphart
2/7/05 “Wrong path for Dover” Jeffrey A. Brown
2/8/05 “No problem with theory” Turk Pierce
2/9/05 “Students deserve to explore” Martin Grey
2/11/05 “Converted to creationism” E.J. Ross Ill
3/14/05 “ID stifles creativity” Kyle W. Cunningham
4/15/05 ‘“’*Design’ just a hypothesis” Jeffrey A. Brown
4/18/05 “Students should hear all sides” Michael and Jeanne
Baker
4/21/05 “Dover graduate proud of board” Rick Shaff¢r
4/21/05 “Foes of intelligent design ‘unaware’” Alvin Grove
4/28/05 “Today, mentoring is of high importance” Hank Merges
4/29/05 “Too many egos at play in Dover”
5/2/05 “Dover issues require vision” Terry Emi
5/4/05 “Don’t ignore Dover board achievements” Clark E. Facht II
5/4/05 “Questions ACLU reason” Diane Gramley
5/11/04 “Dover Twp.—is it in the water?”
5/11/05 “ACLU should be ashamed” Goerge E. Hilderand,
Maribel J. Hildebrand
5/18/05 “Creation ism a topic of philosophy” Sara Erdlen
5/20/05 “Disturbed by ‘design’ view” “Kenneth H. Iman
5/25/05 “Motivations and theories miss mark over intelligent
design”
5/26/05 “Tlustration of GOP slide” John N. Fishel
5/31/05 “Ts there ‘intelligent design’ driving the secular
agenda?”
6/17/05 “Creationism seems true” Tom C. Levis
6/28/05 “Teach ‘design’ in the home” Ben Burrows
7/5/05 “Dismal display from Basic Education committee”

 

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YORK DISPATCH EDITORIALS - CURRICULUM CONTROVERSY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE ARTICLE AUTHOR

6/11/04 “Creationist text dispute misdirected” staff

6/16/04 “Creationism instance clearly wrong-headed” Larry Hicks

9/9/04 “*Pandas’ text has a place—in the library” staff

10/8/04 “Triumphs private and public” staff

12/3/04 “Area issues draw ire of libertarians” staff

12/6/04 “School boards shouldn’t compete in creationists’ self- | Paul R. Gras
serving game”

12/16/04 “Creationists need a clear message” staff

12/20/04 “Purely religious, intelligent design has no place in Laura Meerkatz
science curriculum”

12/27/04 “Dover ‘federal case’ a shame” staff

12/28/04 “Super-intelligence only good explanation for life Whitlock
development”

1/11/05 “Teachers’ ‘sabotage’ makes sense” staff

1/19/05 “What would Jesus do on the Dover school board? Larry Hicks

1/21/05 “The case for religious reasoning” Stephen Prothero

2/15/05 “Theological themes are not science” 13 Shippensburg

professors of biology

2/24/05 “Creationist inroads—80 years on” staff

3/15/05 “To those who stepped up, honor is due” staff

5/6/05 “Intelligent design is religion—and metaphysical Keith Lockitch
marijuana”

5/12/05 “Religion—keep it in church, home” staff

5/18/05 “By ‘design,’ Dover stays in spotlight staff

6/1/05 “See students as competent jurors” Doug Cowan

6/24/05 “Intelligent design bill over the edge” staff

7/7/05 “State House Oks academic goon squad” staff

7/15/05 “Dover’s Buckingham should do the right thing, resign” | Larry A. Hicks

 

 

 

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THE YORK DISPATCH NEWS ARTICLES — PLEDGE OF ALLEGIANCE

 

 

 

 

CONTROVERSY
DATE ARTICLE AUTHOR
11/12/03 | “Allegiance under God pledged; Religious phrase Heidi Bernhard-Bubb
endorsed in Dover”
11/23/03 | “Pledge rules unclear; Some schools balk at parental Lauri Lebo
notice mandate”

 

 

 

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THE YORK DISPATCH LETTERS TO THE EDITOR — PLEDGE OF ALLEGIANCE
CONTROVERSY

DATE ARTICLE AUTHOR
10/19/01 | “Headline hurt the Dover district” Debra O’ Donnell
11/6/03 “Building a house for diversity” Thomas E. Donley
11/12/03 | “Pledge vote just for show?” Steve Zorbaugh
11/13/03 | “’Under God’ a big distraction” Lois Klinedinst
11/14/03 | “Pop quiz on the Pledge of Allegiance” Steven Neubpuer
11/17/03 | “’Under God’ a late addition” Ron Hockengmith

 

 

 

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THE YORK DISPATCH EDITORIALS — PLEDGE OF ALLEGIANCE CONTROVERSY

 

 

 

 

DATE ARTICLE AUTHOR
3/1/02 “There are already plenty of chances to pray in school” Larry Hicks
3/3/02 “School kids can pray”

11/7/03 “The pledge as a wedge”
11/13/03 | “Where should I go back to?” Donna Hudelson

 

 

 

 

 

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PATRIOT NEWS: NEWS ARTICLES - CURRICULUM CONTROVERSY
DATE ARTICLE AUTHOR
4/4/03 “Creationism Evolves” Mary Warner
12/14/04 | “Creationism evolves into court fight” Charles Thompson and
Mary Warner
12/15/04 | “ACLU, 11 residents file suit to block ‘intelligent’ theory” | Jan Murphy
1/6/05 “Teachers may give evolution alternative” Pete Shellem
1/18/05 “Telling biology students of concept divides town” Jim Lewis
1/26/05 “*Dover Dilemma’ speakers favor science” Matt Miller
1/28/05 “District 3 Girl’s basketball rankings” Chris Korman
1/28/05 “Poll finds ‘design’ decision support” staff
2/1/05 “In your school” compiled by Diana
Stricker, Barbara
Miller, and Monica
von Dobeneck
2/13/05 “Creation fight evolves beyond Dover” May Warner
2/13/05 “Forum to look at science, theology, law of intelligent staff
design”
2/15/05 “Corrections” staff
3/1/05 “Lawyer asks to join Dover book suit” Bill Sulon
3/2/05 “By Design?; politely, experts debate creationism and its | Mary Warner
teaching”
3/11/05 “Around Pennsylvania” compiled by Bill
Savitsky Jr.)and John
Beauge
4/9/05 “Bills would shield schools from church-state disputes” Jan Murphy
4/18/05 “Student lawmakers tackle issues in Capitol” Aparna Kumar
5/18/05 “Dover voters weight in on intelligent design” Jim Lewis
6/7/05 “Demanding change” Jim Lewis
6/17/05 “Society to honor former Gov. Casey” Judith Pattgn
6/21/05 “House panel hears debate on creation theory” Bill Sulon

 

 

 

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PATRIOT NEWS LETTERS TO THE EDITOR - CURRICULUM CONTROVERSY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE ARTICLE AUTHOR
10/20/04 “Creation’s validity” Paulette Walker
10/24/04 “Religious beliefs, science don’t mix” Mark Scriptunas
10/24/04 “Alternative teaching” Alexander P. Shine
10/29/04 “Common sense about evolution” John Messmet
10/29/04 “Don’t overlook these” Deana Sherman Weaver
10/29/04 | “Aliens neglected” Dave Kerr
12/1/04 “Faith and science should be separated” Timothy A. Lemke
12/12/04 “Teaching creationism” Erin Pizoli
12/13/04 | “Unchangeable creator” Richard W. Simpson
12/17/04 “More than one view” Andrew Moore
12/17/04 “Proof is voluminous” Harold W. Gardner

Ph.D.
12/21/04 “Here are some other theories for classes” James H. Kling
12/21/04 | “Too many ‘coulds’ in Darwinism Marquis R. S¢idel, Ph.D.
12/21/04 “Establishment clause” Sean D. Harper
12/21/04 “Darwin and the Bible” Howard Sauettieg
12/27/04 “Evolving viruses” Greg Strohman
12/28/04 “Missing connections” Joseph V. Capuano
12/28/04 “Intelligent Design?’” Bill Snyder
1/2/05 “Teach both theories” Ted Streeter
1/14/05 “Automated creation” Herb Cronin
1/16/05 “Troubling lawsuit” Charity Wirl
1/19/05 “Leap of faith” Mike Petesich
1/19/05 “Designer of all” Joseph A. Nicholson
1/19/05 “Theory’s inadequate” Paulette Walker
1/23/05 “God and biology” Kathleen R. Kennedy
1/25/05 “Dover alternative” Addison Taliaferro
1/25/05 “Nature unreliable” Ken Nelson
1/26/05 “Make ‘design’ theory part of humanities” Anne Keiser
1/30/05 “Theology, science should be separate” Ed Dix
1/31/05 “We just don’t know” John Branigan
1/31/05 “Additional disclaimer” Philip Richardson
1/31/05 “Complexities of life” Morris Albertson
2/2/05 “Present both theories” Zachary Fowler
2/3/05 “Views misportrayed” Bob Gorinskij
2/3/05 “Theory defined” Kevin Spand]er
2/3/05 ‘““Where’s evidence?” Garrick Chow
2/4/05 “Little black book” John Rhine
2/6/05 “Evolution is a lie” Michael Skutlin
2/6/05 “Disingenuous effort” Francis B. Has
2/6/05 “Question of ‘why’” Larry Peters

 

 

 

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2/14/05 “Modern inquisition” Dan LaRue

2/15/05 “Why all the debate?” Rebecca Horne
3/7/05 “Lesson in science” John W. Purcell Jr.
3/10/05 “Worn-out objections” Craig Rapp

3/10/05 “Half-truths presented” Andrea McCormick
3/12/05 “Success underplayed” Darla K. Buffington
3/12/05 “Intelligent freshman” David McNear
5/23/05 “Both sides ignore creation difficulties” George M. Behr
5/24/05 ‘“Dumbing down” David G. Wilson
6/1/05 “Creationist greats” James B. McHarlane Jr.
6/12/05 “Don’t confuse ‘design’” Timothy A. Lemke
6/17/05 “Class time limited” Nick Finio

6/29/05 “Whose God is proper?” Randy Bennett
7/3/05 “What’s the source” Robert W. Gorinsky
7/3/05 “Evolution as religion” Thomas Wieland
7/5/05 “On shaky ground” Edwin Garver
7/8/05 “Teach both views” Paulette Walker
7/8/05 “Editorialist ignorant of Designer backing” Steven Read
7/11/05 “Evolution is fact” Mark Scriptunas
7/19/05 “Issue misunderstood” John W. Purcell Jr.
7/19/05 “ID isn’t science” Wayne Trottal
7/22/05 ‘Natural processes” James E. Nunn

 

 

 

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PATRIOT NEWS EDITORIALS - CURRICULUM CONTROVERSY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE ARTICLE AUTHOR
10/13/04 “Hurray for the sharp eye of Camp Hill’s Wiley Rowland McKellar
Hockenberry” ul
10/24/04 “Only a theory? Much of modern lifeis based on Herb Field
science, including evolution”
12/5/04 “Science offers ideas on what works” Richard Alley
12/15/04 “Dover Dispute: Faith teachings inappropriate for the | staff
public school classroom”
12/19/04 “A quick look at the week’s other events” staff
12/21/04 “What do you think?” staff
1/6/05 “Let students pick beliefs on origins” Nancy Eshelman
1/24/05 “Intelligent design isn’t based on science” Al Winn
1/30/05 “Don’t confuse religion, cultural heritage” Wayne Winters
2/16/05 “London museum an eye-opener on Darwin” Beverly Fowler;Conner
2/25/05 “Unnecessary conflict does harm to religion” Paul Freeland
3/3/05 “Here’s what you aren’t taught in school about Jennie Gordon
evolution”
3/30/05 “Why opposing evolution resonates with some” Michelle M. Simmons
5/6/05 “Scientific method can explain development” Robert Benbow
5/19/05 “Term No. 7; Reed easily overcomes opposition as he | staff
returns to what he does best”
5/22/05 “Streamlines school boards would have more impact” | David Kranz
6/1/05 ‘Don’t be fooled; Americans need to move on to Herb Field
more serious issues”
6/23/05 “It’s not science; Permitting the teaching of ‘design’ | staff
would denigrate education in state”
6/26/05 “This theory not designed for science” Pat Carroll
6/26/05 “Missing Links; Holes in evolution theory leave room | Robert P. Wheelersburg
for faith”
7/6/05 “What if God did create Earth as Bible says?” Joseph N. Scotto

 

 

 

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PATRIOT NEWS: NEWS ARTICLES
PLEDGE CONTROVERSY

DATE ARTICLE AUTHOR

 

| 10/12/03 | “Around Pennsylvania” | staff

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KITZMILLER, ET AL. V. DOVER AREA SCHOOL DISTRICT, EI AL.
| Trial Exh. # | Date | Description | Bates Range Dep Exh #
P-181 03/30/2005 [Brian Alters’ Expert Witness Report
P-182 Brian Alters’ CV
P-183 National Association of Biology BA000001 - BA000005
Teachers’ (NABT) Statement on
Teaching Evolution
P-184 National Science Teacher Association {BA000006 - BA000011
(NSTA) - Background Paper on BA000310 - BS000314
Textbooks
P-185 INSTA Position Statement on Science |{BA000012 - BA000015
Teacher Preparation BA000293 - BA000298
P-186 INSTA Position Statement on Teaching BA000016 /
Evolution BA000282 /
BA000299 - BA000307
P-187 AETS Position Statement Science BA000017 - BA000020
‘Teacher Preparation BA000166 - BA000168
BA000222 - BA000227
BA000270 - BA000272
P-188 The National Academics - Science and | BA000021 - BA000022
Creationism
P-189 The National Academics - Statements | BA000023 - BA000024
from the National Academy of Sciences
P-190 09/18/2002 |The National Academics - Letter by BA000025 - BA000026
Bruce Alberts to Members of the
National Academy of Sciences and
Institute of Medicine Who Live in
Georgia
P-191 02/14/2001 |The National Academics - Statement of} BA000027 - BA000028
Support for the Kansas Board of
Education’s Decision
P-192 National Academy for Science (NAS) - BA000029 and
Science and Creationism additional un-bates
labeled documents
P-193 The National Academics - News BA000030 - BA000031
P-194 Teaching About Evolution and the BA000032 - BA000033
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P-195 Excerpts from NAS “Evolution in BA000034 - BA000040;
Hawaii” BA000283 - BA000289
P-196 Statements from Scientific and BA000041 — BA00042
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P-199 AAAS Board Resolution Urges BA000046 - BA000048
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P-202 Association for the Education of BA000163 - BA000165;
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P-204 Document production.txt guidelines BA000273 - BA000276
P-205 02/14/2001 INSTA Press Room - Statement of BA000290 - BA000292
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P-209 Dover Area School District Biology P01625 - P01649
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